                                                                      Case 3:21-cv-08378-JD Document 176 Filed 08/26/22 Page 1 of 9



                                                           1    JOHN W. HOWARD (SBN 80200)
                                                           2    MICHELLE D. VOLK (SBN 217151)
                                                                JW Howard/ Attorneys, Ltd.
                                                           3    701 B Street Suite 1725
                                                           4    San Diego, CA 92101
                                                                Tel (619) 234-2842; Fax (619) 234-1716
                                                           5    Email: johnh@jwhowardattorneys.com
                                                           6           michellev@jwhowardattorneys.com

                                                           7    Scott J. Street (SBN 258962)
                                                           8    JW HOWARD/ATTORNEYS, LTD.
                                                                201 South Lake Avenue, Suite 303
                                                           9    Pasadena, CA 91101
                                                           10   Tel.: (213) 205-2800
                                                                Email: sstreet@jwhowardattorneys.com
                                                           11
JW HOWARD/ ATTORNEYS, LTD.




                                                                Attorneys for Plaintiff
                                                           12   NAOMI WOLF
                             SAN DIEGO, CALIFORNIA 92101
                               701 B STREET, SUITE 1725




                                                           13

                                                           14                             UNITED STATES DISTRICT COURT
                                                           15                       NORTHERN DISTRICT OF CALIFORNIA
                                                           16

                                                           17   DONALD J. TRUMP, et al.,                    Case No. 3:21-cv-08378-JD
                                                           18                Plaintiffs,                    Hon. James Donato
                                                           19          vs.
                                                                                                            PLAINTIFF DR. NAOMI WOLF’S
                                                           20   TWITTER, INC., et al.,                      MOTION FOR INDICATIVE
                                                                                                            RULING UNDER FED. R. CIV. P. 60
                                                           21                Defendants.                    BASED ON NEWLY DISCOVERED
                                                                                                            EVIDENCE
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                                                           23                                               Action Filed: July 7, 2021
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                                                                 MOTION FOR INDICATIVE RULING PURSUANT TO FRCP 60               CASE NO. 20-CV-09300-AGT
                                                                     Case 3:21-cv-08378-JD Document 176 Filed 08/26/22 Page 2 of 9



                                                           1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                           2          PLEASE TAKE NOTICE that Plaintiff Dr. Naomi Wolf will, and hereby
                                                           3    does, seek an indicative ruling from the Court setting aside the judgment of dismissal
                                                           4    it entered against her on May 22, 2022. This motion is brought pursuant to Rule 60 of
                                                           5    the Federal Rules of Civil Procedure on the grounds that Dr. Wolf has obtained
                                                           6    evidence showing that employees of Defendant Twitter, Inc., blocked her tweets and
                                                           7    eventually suspended her Twitter account based on instructions from government
                                                           8    officials and thus can be held liable for violating her First Amendment rights under the
                                                           9    joint state action doctrine. The Court found that these allegations were not adequately
                                                           10   pleaded in the amended complaint, but the newly discovered evidence shows that they
                                                           11   have factual support and that the government’s instructions came not from random
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                                                           12   legislators but executive branch officials as official government policy.
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                                                           13         Since this matter was appealed, and this Court divested of jurisdiction, Dr. Wolf
                                                           14   brings this motion as a request for an indicative ruling about how the Court would rule
                                                           15   on a Rule 60 motion. If the Court indicates that it would grant the Motion, Dr. Wolf
                                                           16   will file a motion for a limited remand in the Ninth Circuit Court of Appeals.
                                                           17         The motion does not seek relief for any of the other plaintiffs.
                                                           18         This motion is based on the declaration of Dr. Wolf’s counsel, Scott J. Street,
                                                           19   the attached memorandum of points and authorities, and upon such further evidence
                                                           20   and argument that the Court may entertain.
                                                           21   DATED: August 26, 2022               JW HOWARD/ATTORNEYS, LTD.
                                                           22

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                                                                                                     By:          /s/ Scott J. Street
                                                           25
                                                                                                           Scott J. Street
                                                           26                                              Attorneys for Plaintiff
                                                                                                           NAOMI WOLF
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                                                                 MOTION FOR INDICATIVE RULING PURSUANT TO FRCP 60                 CASE NO. 20-CV-09300-AGT
                                                                     Case 3:21-cv-08378-JD Document 176 Filed 08/26/22 Page 3 of 9



                                                           1                   MEMORANDUM OF POINTS AND AUTHORITIES
                                                           2          Dr. Wolf submits the following memorandum in support of her motion for an
                                                           3    indicative ruling under Rule 60 of the Federal Rules of Civil Procedure.
                                                           4          I.     INTRODUCTION
                                                           5          Dr. Wolf joined this case and another action initiated by former President
                                                           6    Donald Trump after Twitter and other companies blocked some of her social media
                                                           7    posts and, eventually, banned her from their platforms. She sued Twitter for violating
                                                           8    her First Amendment rights, but the Court dismissed that claim because it found that
                                                           9    the complaint did not allege sufficient facts to hold Twitter liable as a state actor.
                                                           10         That decision is being appealed. But Dr. Wolf recently discovered
                                                           11   groundbreaking emails found by a non-profit through a Freedom of Information Act
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                                                           12   request. These emails show that Twitter did not start censoring Dr. Wolf’s tweets
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                                                           13   about the COVID-19 shots until officials from the Centers for Disease Control and
                                                           14   Census Bureau asked it to. Indeed, a CDC official specifically listed one of Dr. Wolf’s
                                                           15   tweets in an email to a Twitter employee as the type of alleged “disinformation” that
                                                           16   the government wanted Twitter to block.
                                                           17         Apparently, this was not an isolated event. The released emails show that
                                                           18   executive branch officials met with social media companies, including Twitter,
                                                           19   repeatedly during 2021 to identify and eliminate statements that the government
                                                           20   wanted to censor. Similar emails were recently revealed by Alex Berenson as part of a
                                                           21   lawsuit that he brought against Twitter.
                                                           22         These emails go to the heart of Dr. Wolf’s case against Twitter. They did not
                                                           23   exist when the Court decided Twitter’s motion to dismiss and thus, under Rule 60,
                                                           24   constitute newly discovered evidence that justifies setting aside the dismissal order as
                                                           25   to Dr. Wolf so that she can pursue her First Amendment claim against Twitter. The
                                                           26   Court should issue an order indicating that it would grant Dr. Wolf’s Rule 60 motion,
                                                           27   so that these important issues can be litigated fairly and based on an updated record.
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                                                                 MOTION FOR INDICATIVE RULING PURSUANT TO FRCP 60                  CASE NO. 20-CV-09300-AGT
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                                                           1           II.    FACTS
                                                           2           This case was filed on July 7, 2021, in Florida. (ECF No. 1) Dr. Wolf was not
                                                           3    one of the initial plaintiffs. She joined a separate lawsuit filed by former President
                                                           4    Trump against YouTube after YouTube blocked some of Trump’s content, Donald
                                                           5    Trump et al. v. YouTube et al., No. 1:21-cv-22445 (S.D. Fl.). Declaration of Scott J.
                                                           6    Street dated August 26, 2022 (“Street Decl.”), ¶ 2.
                                                           7           Like this one, the YouTube case was eventually transferred to the Northern
                                                           8    District of California, but Judge White denied a motion to consolidate the cases and
                                                           9    was considering a motion to dismiss when the Court issued its dismissal order in this
                                                           10   case. Id., ¶ 3. The YouTube case has been stayed pending the outcome of the appeal in
                                                           11   this matter. Id.
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                                                           12          Dr. Wolf did not join this case as a plaintiff until December 2021, around the
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                                                           13   time that former President Trump moved to consolidate it and the YouTube case. Id.,
                                                           14   ¶ 4. Her counsel did not participate in drafting the amended complaint. Id.
                                                           15          The Court dismissed this case without leave to amend on May 6, 2022. (ECF
                                                           16   No. 165) Among other things, it concluded that the complaint could not state a First
                                                           17   Amendment claim against Twitter for blocking some of its users’ content, and
                                                           18   ultimately blocking them from Twitter, because Twitter is a private company and
                                                           19   because the amended complaint did not allege facts sufficient to hold Twitter liable
                                                           20   under the joint state action doctrine, as “[t]he amended complaint merely offers a
                                                           21   grab-bag of allegations to the effect that some Democratic members of Congress
                                                           22   wanted Mr. Trump, and the views he espoused, to be banned from Twitter because
                                                           23   such content and views were contrary to those legislators’ preferred points of view.”
                                                           24   (ECF No. 165 at p. 6, cleaned up) The Court said these allegations fell far short of “a
                                                           25   rule of decision for which the State is responsible.” (Id., cleaned up)
                                                           26          A few weeks ago, while that decision was being appealed, the non-profit legal
                                                           27   group American First Legal Foundation (“AFLF”) released emails it obtained from
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                                                                 MOTION FOR INDICATIVE RULING PURSUANT TO FRCP 60                 CASE NO. 20-CV-09300-AGT
                                                                     Case 3:21-cv-08378-JD Document 176 Filed 08/26/22 Page 5 of 9



                                                           1    the federal government pursuant to a FOIA request. Among them was an email from a
                                                           2    CDC official named Carol Crawford to a Twitter employee named Todd O’Boyle.
                                                           3    Street Decl., Exh. A. In the email, dated May 10, 2021, Ms. Crawford pointed out to
                                                           4    Mr. O’Boyle “two issues that we are seeing a great deal of misinfo about—vaccine
                                                           5    shedding and microchips. The below are just some example points.” Id. Her chart
                                                           6    listed a tweet from Dr. Wolf about potential adverse effects from the COVID vaccines
                                                           7    in women that Twitter subsequently blocked. Id., Exhs. A, B. Ms. Crawford copied an
                                                           8    official from the Census Bureau and mentioned a “BOLO COVID misinformation
                                                           9    meeting” that she said the executive branch was “inviting all tech platforms” to. Id.
                                                           10         Additional emails obtained by AFLF refer to these “misinformation” meetings
                                                           11   taking place between executive branch officials and social media companies,
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                                                           12   including Twitter, throughout 2021. Street Decl, ¶ 5.
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                                                           13         This evidence appears to be part of a pattern. Conservative commentator Alex
                                                           14   Berenson also sued Twitter after it censored his posts and eventually blocked him
                                                           15   from the platform. During that lawsuit, he obtained evidence that White House
                                                           16   officials, including White House COVID-19 czar Andy Slavitt, explicitly sought to
                                                           17   censor and remove him from the social media platforms. Id., ¶ 6.
                                                           18         With this newly discovered evidence, Dr. Wolf intends to seek relief from the
                                                           19   Court under Rule 60 of the Federal Rules of Civil Procedure. This Court lost
                                                           20   jurisdiction after the case was appealed but the Ninth Circuit will consider a motion
                                                           21   for a limited remand if the Court issues an indicative ruling that it would consider
                                                           22   granting Dr. Wolf relief from the judgment. Fed. R. Civ. P. 62.1; see also Mendia v.
                                                           23   Garcia, 874 F.3d 1118, 1121-22 (9th Cir. 2017) (describing this process).
                                                           24         III.   ARGUMENT
                                                           25         A motion for relief from judgment may be made on the ground of “newly
                                                           26   discovered evidence that, with reasonable diligence, could not have been discovered
                                                           27   in time to move for a new trial under Rule 59(b).” Fed. R. Civ. P. 60(b)(2). This rule
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                                                                 MOTION FOR INDICATIVE RULING PURSUANT TO FRCP 60                CASE NO. 20-CV-09300-AGT
                                                                     Case 3:21-cv-08378-JD Document 176 Filed 08/26/22 Page 6 of 9



                                                           1    justifies relief where, among other things, the newly discovered evidence is material
                                                           2    and would probably produce a different result. Toole v. Baxter Healthcare Corp., 235
                                                           3    F.3d 1307, 1316 (11th Cir. 2000).
                                                           4          The emails released by AFLF satisfy this standard. They show “a sufficiently
                                                           5    close nexus between the State and the challenged action” taken by Twitter against Dr.
                                                           6    Wolf, such that “the action of the latter may be fairly treated as that of the State
                                                           7    itself.” Sutton v. Providence St. Joseph Medical Center, 192 F.3d 826, 836 (9th Cir.
                                                           8    1999). Moreover, unlike the allegations in former President Trump’s amended
                                                           9    complaint, this evidence does not merely show a grab-bag of comments made by
                                                           10   legislators who had no power to directly influence Twitter’s actions. They reflect the
                                                           11   actions of executive branch officials who did have such power and who apparently
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                                                           12   developed a joint policy with Twitter and other social media companies to identify
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                                                           13   and censor information that the executive branch officials deemed “misinformation.”
                                                           14   This evidence shows the “rule of decision” that links Twitter’s actions to the
                                                           15   government and which therefore could violate the First Amendment. See Mathis v.
                                                           16   Pac. Gas & Elec. Co., 891 F.2d 1429, 1432 (9th Cir. 1989) (discussing this rule). It
                                                           17   shows the “concrete and specific government action” that the Court said can constitute
                                                           18   state action. (ECF No. 165 at p. 11) It is far different than a legislator’s statement that
                                                           19   “we may legislate” if Twitter did not follow the legislator’s wishes, as the amended
                                                           20   complaint alleged. (Id.)
                                                           21         At the very least, the emails released by AFLF—plus the emails Mr. Berenson
                                                           22   obtained in his own lawsuit—show that Dr. Wolf’s allegations against Twitter have
                                                           23   factual support. They are plausible and should not be decided at the pleading stage,
                                                           24   without giving Dr. Wolf an opportunity to gather more evidence and litigate her claim
                                                           25   on the merits, as the law requires.
                                                           26         IV.    CONCLUSION
                                                           27         For the foregoing reasons, Dr. Wolf respectfully requests that the Court issue an
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                                                                 MOTION FOR INDICATIVE RULING PURSUANT TO FRCP 60                  CASE NO. 20-CV-09300-AGT
                                                                     Case 3:21-cv-08378-JD Document 176 Filed 08/26/22 Page 7 of 9



                                                           1    order stating that it would consider granting relief to Dr. Wolf under Rule 60 based on
                                                           2    this newly discovered evidence.
                                                           3

                                                           4    DATED: August 26, 2022               JW HOWARD/ATTORNEYS, LTD.
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                                                                                                     By:          /s/ Scott J. Street
                                                           8
                                                                                                           Scott J. Street
                                                           9                                               Attorneys for Plaintiff
                                                                                                           NAOMI WOLF
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                                                                 MOTION FOR INDICATIVE RULING PURSUANT TO FRCP 60                 CASE NO. 20-CV-09300-AGT
                                                                      Case 3:21-cv-08378-JD Document 176 Filed 08/26/22 Page 8 of 9



                                                           1                                        CERTIFICATE OF SERVICE

                                                           2    I, the undersigned, do declare that I am employed in the county aforesaid, that I am over the age of

                                                           3    [18] years and not a party to the within entitled action; and that I am executing this proof at the
                                                                direction of the member of the bar of the above entitled Court. The business address is:
                                                           4

                                                           5                                         JW Howard Attorneys LTD
                                                           6                                           701 B Street, Ste. 1725
                                                                                                     San Diego, California 92101
                                                           7

                                                           8
                                                                       □       MAIL. I am readily familiar with the business’ practice for collection and processing
                                                                of correspondence for mailing via the United States Postal Service and that the correspondence
                                                           9
                                                                would be deposited with the United States Postal Service for collections that same day.
                                                           10
                                                                       ■       ELECTRONIC. I am readily familiar with the business’ practice for collection and
                                                           11
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                                                                processing of documents via electronic system and said documents were successfully transmitted via
                                                           12
                             SAN DIEGO, CALIFORNIA 92101




                                                                Court transmission that same day.
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                                                           13
                                                                       □       PERSONAL. The below described documents were personally served on date below
                                                           14
                                                                via Knox Services.
                                                           15

                                                           16   On the date indicated below, I served the within:

                                                           17   PLAINTIFF NAOMI WOLF’S MOTION FOR INDICATIVE RULING UNDER FED. R.
                                                                CIV. P. 60 BASED ON NEWLY DISCOVERED EVIDENCE
                                                           18

                                                           19   TO:

                                                           20    John P. Coale: johnpcoale@aol.com                    Peter W. Homer: PHomer@homerbonner.com

                                                           21    Andrei Dan Popovici: andrei@apatent.com              Ari Holtzblatt: ari.holtzblatt@wilmerhale.com
                                                           22
                                                                 Frank C. Dudenhefer, Jr.: fedlaw@aol.com             Felicia Ellsworth:
                                                           23                                                         felicia.ellsworth@wilmerhale.com

                                                           24    John Q. Kelly: jqkelly@ibolaw.com                    Patrick J. Carome:
                                                                                                                      Patrick.carome@wilmerhale.com
                                                           25

                                                           26    Marie L. Fiala: marie@apatent.com                    Thomas G. Sprankling:
                                                                                                                      Thomas.sprankling@wilmerhale.com
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                                                                 MOTION FOR INDICATIVE RULING PURSUANT TO FRCP 60                            CASE NO. 20-CV-09300-AGT
                                                                      Case 3:21-cv-08378-JD Document 176 Filed 08/26/22 Page 9 of 9



                                                           1     Michael J. Jones: mjones@ibolaw.com                 Joshua Kolsky: Joshua.kolsky@usdoj.gov
                                                           2     Richard Polk Lawson:                                Indraneel Sur: indraneel.sur@usdoj.gov
                                                           3     rlawson@gardnerbrewer.com

                                                           4     Rowland A. Paul: rpaul@ibolaw.com

                                                           5
                                                                       I declare under penalty of perjury, under the laws of the State of California, that the
                                                           6
                                                                foregoing is true and correct and was EXECUTED on August 26, 2022, at San Diego, CA.
                                                           7

                                                           8                                        _________/s/ Dayna Dang_________
                                                                                                          Dayna Dang, Paralegal
                                                           9                                          dayna@jwhowardattorneys.com
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JW HOWARD/ ATTORNEYS, LTD.




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                               701 B STREET, SUITE 1725




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                                                                 MOTION FOR INDICATIVE RULING PURSUANT TO FRCP 60                           CASE NO. 20-CV-09300-AGT
